Action commenced December 11, 1947, by Hertz Drivurself Stations, Inc., a foreign corporation, plaintiff, against Gerald Ostrander, Jr., and Industrial Commission of Wisconsin, defendants, to review an order of the Industrial Commission awarding double compensation to Gerald Ostrander, Jr., for injuries received while employed by plaintiff without a child-labor permit.  The trial court entered judgment on June 26, 1948, confirming the order of the Industrial mission.  Plaintiff appeals.
Gerald Ostrander, Jr., was employed by Hertz Drivurself Stations, Inc., on November 29, 1946.  He was injured on February 1, 1947, while working for the appellant.  At the time of his injury said Gerald Ostrander, Jr., was a minor under the age of eighteen years.  No application for a permit *Page 309 
to work for the employer had been made and none had been issued as required by ch. 103 of the statutes.
The employer, appellant, argues that the award of double compensation should not be confirmed for the following reasons:  (1) Liability for double compensation where a minor is employed without a permit is predicated on the negligence of the employer; (2) double compensation should be imposed only where failure to have a child-labor permit is a cause in fact of the injury; and (3) double compensation should not be imposed where a minor assumes the risk of working without a permit.
None of the above contentions is sound.  The statutes require the imposition of double compensation under the facts in this case.  The Industrial Commission had no discretion and properly made the award.  The circuit court was correct in confirming it.  The liability for double compensation provided for by the Wisconsin statutes is not predicated on the negligence of the employer.  Brenner v. Heruben (1920),170 Wis. 565, 176 N.W. 228.
As to the last two contentions, a reading of the statutes and the decisions of this court will show that the legislature based the entire concept of the statutes upon the protection of the child.  The duty of obeying the child-labor laws is on the employer and not on the minor.  This court has held that the provisions of the statute for double and triple compensation apply even though the minor obtains employment by falsifying his age and practicing deceit.  Bloomer Brewery, Inc., v. IndustrialComm. (1942), 239 Wis. 605, 2 N.W.2d 226;Milwaukee News Co. v. Industrial Comm. (1937),224 Wis. 130, 271 N.W. 78.
By the Court. — Judgment affirmed. *Page 310 